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Attorney for United States

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF ALASKA
                                 )
 EMMA NASH, as Personal          )
 Representative of the ESTATE OF )
 ELIZABETH NASH,                 ) Case No. 3:16-CV-00290-SLG
                  Plaintiff,     )
                                 )
      v.                         ) MOTION TO SUBSTITUTE
 UNITED STATES OF AMERICA; ) THE UNITED STATES AS
 ALASKA NATIVE TRIBAL            ) DEFENDANT FOR ALASKA
 HEALTH CONSORTIUM D/B/A         ) NATIVE TRIBAL HEALTH
 ALASKA NATIVE MEDICAL           ) CONSORTIUM D/B/A ALASKA
 CENTER; and SHANNON             ) NATIVE MEDICAL CENTER
 PATRICK GARRITY, M.D.,          )
                                 )
                   Defendants.
                                 )

     The United States of America, through counsel, moves to substitute the

United States as the proper party in the place and stead of defendant Alaska

Native Tribal Health Consortium d/b/a Alaska Native Medical Center

(“ANTHC”).


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      With respect to the allegation in Plaintiff’s Amended Complaint

[Dkt. 24], Defendant ANTHC is deemed to be an entity of the federal

government for purposes of the Federal Tort Claims Act, 28 U.S.C.

§§ 1346(b), 2401(b), 2671-80, by operation of ANTHC’s compact or agreement

with the federal Department of Health and Human Services under the Indian

Self-Determination and Education Assistance Act (ISDEAA), 25 U.S.C.

§ 5321 (formerly codified as 25 U.S.C. § 450f).

      Under 28 U.S.C. § 2679(b)(1), the Federal Tort Claims Act remedy

against the United States, as provided in 28 U.S.C.§ 1346(b), for a negligence

action against a federal entity, is exclusive of any other civil action for money

damages. Where the FTCA governs, its remedy is exclusive and a self-

determination contractor, such as ANTHC, may not be sued in its own name.

28 U.S.C. § 2679; see also 25 U.S.C. § 5321(d); 25 C.F.R. § 900.190; 25 C.F.R.

§ 900.204. Thus, the claims against ANTHC are claims against the United

States, and ANTHC should be dismissed and removed from the caption.




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        RESPECTFULLY SUBMITTED this 16th day of June, 2017, in

Anchorage, Alaska.

                                                       BRYAN SCHRODER
                                                       Acting United States Attorney

                                                       s/John A. Fonstad
                                                       Assistant U.S. Attorney
                                                       Attorney for Defendant
CERTIFICATE OF SERVICE
I hereby certify that on June 16, 2017,
a copy of the foregoing was served via ECF on:

Margaret Simonian
Counsel for Plaintiff

John Tiemessen
Counsel for Dr. Garrity

s/John A. Fonstad
Assistant U.S. Attorney




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